     Case 2:13-cr-00008-WFN       ECF No. 2138     filed 05/12/14   PageID.9998 Page 1 of 1




 1
 2                          UNITED STATES DISTRICT COURT
 3                        FOR THE DISTRICT OF WASHINGTON
 4
 5 UNITED STATES OF AMERICA,                        No. 2:13-CR-008-WFN-11

 6                       Plaintiff,                 ORDER GRANTING
 7                                                  MOTION TO MODIFY
     vs.                                            CONDITIONS OF
 8                                                  PRETRIAL RELEASE
 9 BRANDON LEIGH CHAVEZ,
10
                         Defendant.
11
12         BEFORE THE COURT is Defendant’s Motion to permit travel while on
13   pretrial release to Western Washington, ECF No. 2137. Neither the United States
14   nor the U.S. Probation Officer have an objection, as long as Defendant provides his
15   travel plans and verification of his medical appointments to the U.S. Probation
16   Office prior to travel. For good cause shown,
17         The Defendant’s Motion to permit travel while on pretrial release, ECF No.
18   2137, is GRANTED.
19         The Order Setting Conditions of Release filed March 13, 2013, is modified
20   to permit Defendant’s travel to Western Washington to attend medical
21   appointments. Defendant shall provide the United States Probation Office with
22   verification in advance of travel, including providing an itinerary of his departure
23   and return to the Eastern District of Washington. All other terms and conditions
24   of pretrial release shall remain in effect.
25         DATED May 12, 2014.
26
                                      _____________________________________
27                                              JOHN T. RODGERS
28                                     UNITED STATES MAGISTRATE JUDGE


     ORDER GRANTING MOTION TO MODIFY
     CONDITIONS OF PRETRIAL RELEASE - 1
